In re:

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

NEC Holdings Corp. Chapter 7

n/kfa P & S Liguidating Company I,Corp

A.

Debtor. Case No, 10-11890/BLS

REPORT FOR BANKRUPTCY JUDGES IN CASES TO BE CLOSED

$ 58,039.50 TOTAL GROSS RECEIPTS

$ 58,039.50 TOTAL DISBURSEMENTS

$ 0.00 NET BALANCE FOR DISTRIBUTION

FEES AND EXPENSES

$ 6,151.98 Trustee Compensation

$ 32.38 Trustee Expenses

$ 20.21 Bond Payments

$ 0,00 Admin. Rent (post-petition storage fees, leases, etc.)

$ 0.00 Costs to Secure/Maintain Property (E.g., casualty insurance, locksmith,
repairs)

$ 1,845.69 Bank Service Fees

$ 0.00 Other State or Local Taxes (post-petition, incl. post-petition real est.
taxes)

$ 0.01 Other Chapter 7 Administrative Expenses

$ 0.00 Attorney for Trustee Fees (Other Firm)

$ 0.00 Attorney for Trustee Expenses (Other Firm)

$ 0.00 Accountant for Trustee Fees (Trustee Firm)

$ 0.00 Accountant for Trustee Expenses (Trustee Firm)

$ 0.00 Consultant for Trustee Fees

$ 0,00 Consultant for Trustee Expenses

$ 275.00 Other Professional's Fees

DISTRIBUTIONS

$ 0.00 Secured Creditors

$ 39,956.09 Priority Creditors

$ 9,758.14 Unsecured Creditors

$ 0.00 Equity Security Holders

$ 0.00 Payments to Debtors

TOTAL DISBURSEMENTS (Sum of B & C): $

58,039.50

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If applicable, list portion of this total distributed by Trustee in Chapter other than Chapter 7 (DO NOT
include payments to debtor):

$ 0.00

D. CLAIMS ALLOWED

List amount allowed to each class of creditors (whether paid in full or not). However, if the class receives
nothing, enter "0" on the line.

CLAIMS ALLOWED BY CLASS:

8,325.27 Administrative Chapter 7
0.00 Secured Creditors
39,956.09 Priority Creditors
50,385,427,37 Unsecured Creditors
41,180.60 Tardy Creditors

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CLAIMS PAID BY CLASS AS PROPOSED:

$ 8,325.27 Administrative Chapter 7
$ 0.00 Secured Creditors
$
$

39,956.09 Priority Creditors
9,758.14 Unsecured Creditors

I certify under penalty of perjury that the information provided on this form is true and correct to the
best of my knowledge, information, and belief.

DATE: January 27, 2023 Of Go

Alfred T. Giuliano, Trustee

